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     Exhibit 395
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·6·    4/4/2021 "Scientific Proof" with Mike Lindell
                          (3 parts)
·7· · · · · · · · ·   ·
                                 Pt. 3
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14· https://app.criticalmention.com/app/#/report/98d0f6fd
· · e2b7-4363-b980-ad881adf294a
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·1· · · · · · (00:00)
·2· · · · · · MIKE LINDELL:· What?
·3· · · · · · DR. DOUGLAS G. FRANK:· So this is everybody,
·4· and of course everybody can't vote.
·5· · · · · · MIKE LINDELL:· Right.
·6· · · · · · DR. DOUGLAS G. FRANK:· You've got to get rid
·7· of your 18-year-olds, and plus -- and then I did a
·8· little research and found out about two to three percent
·9· of the people from other countries and things, so I
10· subtracted four percent.
11· · · · · · MIKE LINDELL:· Right.
12· · · · · · DR. DOUGLAS G. FRANK:· So this is starting
13· from the total population, you can download it from the
14· census.· It's not a big deal.
15· · · · · · MIKE LINDELL:· Right.
16· · · · · · DR. DOUGLAS G. FRANK:· And subtract four
17· percent, so there are about 550,000 people eligible to
18· vote.
19· · · · · · MIKE LINDELL:· Right.· Got it.
20· · · · · · DR. DOUGLAS G. FRANK:· Now, if you actually
21· download their database, this is who's actually
22· registered.
23· · · · · · MIKE LINDELL:· Right.
24· · · · · · DR. DOUGLAS G. FRANK:· By the way, did you
25· notice those two bumps again?


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·1· · · · · · MIKE LINDELL:· Yeah, there's those two bumps
·2· again.
·3· · · · · · DR. DOUGLAS G. FRANK:· Wait a minute.· I was
·4· just showing you Colorado, wasn't I?· It's the same two
·5· bumps again.
·6· · · · · · MIKE LINDELL:· It's identical.
·7· · · · · · DR. DOUGLAS G. FRANK:· The same two bumps.
·8· Now, wait a minute.· And so noticing that pattern tells
·9· you something.· It's breadcrumbs.
10· · · · · · MIKE LINDELL:· So you've seen a deviation that
11· was there.
12· · · · · · DR. DOUGLAS G. FRANK:· Yes.
13· · · · · · MIKE LINDELL:· And then you went and found
14· what?· You had to go back in time and found out what
15· year --
16· · · · · · DR. DOUGLAS G. FRANK:· Yes.
17· · · · · · MIKE LINDELL:· -- did the population match
18· that.
19· · · · · · DR. DOUGLAS G. FRANK:· Yes.
20· · · · · · MIKE LINDELL:· And what year was it?
21· · · · · · DR. DOUGLAS G. FRANK:· 2010.
22· · · · · · MIKE LINDELL:· 2010.
23· · · · · · THE COURT:· One America News is committed to
24· delivering credible, honest, unbiased reporting 24 hours
25· a day, seven days a week from the White House.


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·1· · · · · · ANNOUNCER:· President Trump is set to sign an
·2· executive order.
·3· · · · · · ANNOUNCER:· To Capitol Hill.
·4· · · · · · ANNOUNCER:· Congress passes legislation to
·5· fund the government.
·6· · · · · · ANNOUNCER:· To Wall Street.
·7· · · · · · ANNOUNCER:· Wall Street surges to another
·8· record high.
·9· · · · · · ANNOUNCER:· Greta has her eyes on the biggest
10· stories of the day.· Don't miss Wall to Wall, weekdays
11· at 4:00 p.m. Eastern, 1:00 Pacific for full coverage of
12· the latest breaking national and international
13· headlines.
14· · · · · · ANNOUNCER:· Rise and shine, America.· It's
15· time to wake up to a new kind of morning show.· Get
16· ready for the day ahead with credible, honest, unbiased
17· reporting from a source you can trust.· Start your
18· morning off right with the latest national breaking
19· national and international headlines.· Don't miss the
20· OAN Morning News with Stephanie Meyers weekday mornings
21· beginning at 6:00 a.m. only on One America News.
22· · · · · · ANNOUNCER:· Don't miss Tipping Point on One
23· America News at its all new time, 9:00 p.m. Eastern,
24· 6:00 p.m. Pacific.· Kara McKinney brings a fresh
25· perspective to the news of the day with commentary and


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·1· analysis from leading experts on the stories that matter
·2· most to you.· Tune in week nights for all new episodes
·3· of Tipping Point with Kara McKinney at a brand new time,
·4· 9:00 p.m. Eastern, 6:00 p.m. Pacific only on One America
·5· News.
·6· · · · · · MIKE LINDELL:· I am going to backtrack a
·7· little bit.· Now I want to tell people out there.
·8· You're going why are you showing Colorado and Ohio and
·9· these other states.· You know, you had told me earlier
10· when you went into Pennsylvania and seen all this
11· corruption and massive algorithms steal of our election,
12· you're going wow, I'm from Ohio.· Nothing happened
13· there, right.· You went jumping back into Ohio.· It's
14· just like I've been telling everyone all along.· Donald
15· Trump won 88 million to 66 million.· We know that from
16· our spy ware and those great people, those great
17· patriots, but we also knew that that couldn't happen in
18· just these swing states.
19· · · · · · DR. DOUGLAS G. FRANK:· Right.
20· · · · · · MIKE LINDELL:· It was all across our country.
21· · · · · · DR. DOUGLAS G. FRANK:· Yes.
22· · · · · · MIKE LINDELL:· So Ohio that won by seven or
23· eight percent really won by 16 or 17 and I've been
24· telling people that for a month and a half.· Doubly
25· Iowa, double Florida.


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·1· · · · · · DR. DOUGLAS G. FRANK:· Yes.
·2· · · · · · MIKE LINDELL:· The thing is, they didn't
·3· expect -- when you set these algorithms --
·4· · · · · · DR. DOUGLAS G. FRANK:· Yes.
·5· · · · · · MIKE LINDELL:· When you set these algorithms,
·6· one of the things you really need to know, isn't it kind
·7· of like what you predict could be --
·8· · · · · · DR. DOUGLAS G. FRANK:· Yes.
·9· · · · · · MIKE LINDELL:· -- the number of people that
10· are going to be in race, so to speak?
11· · · · · · DR. DOUGLAS G. FRANK:· Yes.· You have to know
12· ahead of time.
13· · · · · · MIKE LINDELL:· You have to know at least
14· close, right?
15· · · · · · DR. DOUGLAS G. FRANK:· Yes, exactly, and then
16· you can adjust it later.
17· · · · · · MIKE LINDELL:· And they can adjust it later.
18· But they were so far off --
19· · · · · · DR. DOUGLAS G. FRANK:· Yes.
20· · · · · · MIKE LINDELL:· -- with Donald Trump because
21· they predicted 68 million, and he ends up getting 80
22· million in reality.
23· · · · · · DR. DOUGLAS G. FRANK:· Yeah.
24· · · · · · MIKE LINDELL:· Now you've got to make some --
25· that's why they all shut down at 3:00 in the morning.


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·1· · · · · · DR. DOUGLAS G. FRANK:· Yes, yes.
·2· · · · · · MIKE LINDELL:· And they go what are we going
·3· to do.· We're on a race.
·4· · · · · · DR. DOUGLAS G. FRANK:· They had to adjust this
·5· algorithm.
·6· · · · · · MIKE LINDELL:· They had to adjust the
·7· algorithm.
·8· · · · · · DR. DOUGLAS G. FRANK:· Yes, exactly.
·9· · · · · · MIKE LINDELL:· So this is amazing.· I just
10· want everyone to know that and why we're showing other
11· states and not just the swing state.
12· · · · · · DR. DOUGLAS G. FRANK:· Right.
13· · · · · · MIKE LINDELL:· It was every date.· It happened
14· in your state, happened in your state, happened in your
15· state.
16· · · · · · DR. DOUGLAS G. FRANK:· Yep.
17· · · · · · MIKE LINDELL:· Texas, when they said oh, we
18· didn't use the Dominion machines, doesn't matter.· The
19· name of the machine doesn't matter.
20· · · · · · DR. DOUGLAS G. FRANK:· No.
21· · · · · · MIKE LINDELL:· Smartmatic, ES&S, don't matter.
22· · · · · · DR. DOUGLAS G. FRANK:· Right.
23· · · · · · MIKE LINDELL:· Just in Dallas alone it was
24· 57,000 votes flipped, and I don't even know if that was
25· before noon, you know.· But you see how you can get --


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·1· · · · · · DR. DOUGLAS G. FRANK:· Yes.
·2· · · · · · MIKE LINDELL:· -- misjudged by 12 million
·3· votes.
·4· · · · · · DR. DOUGLAS G. FRANK:· Yes.
·5· · · · · · MIKE LINDELL:· We ended up with what, 75
·6· million.· Five million votes disappeared somewhere.
·7· · · · · · DR. DOUGLAS G. FRANK:· Wow.
·8· · · · · · MIKE LINDELL:· And then you give the other guy
·9· 12 million.
10· · · · · · DR. DOUGLAS G. FRANK:· Yes.
11· · · · · · MIKE LINDELL:· I mean, this can only be done
12· by machines.
13· · · · · · DR. DOUGLAS G. FRANK:· Only by machines
14· because too much is happening too fast and you need to
15· know where you stand.
16· · · · · · MIKE LINDELL:· Right.· Right.· You've got to
17· know where you stand, and there has to be some super
18· computer that's doing that.
19· · · · · · DR. DOUGLAS G. FRANK:· Can you imagine if this
20· black spike was way up here you'd say oh, no,
21· something's wrong.
22· · · · · · MIKE LINDELL:· Something's wrong.
23· · · · · · DR. DOUGLAS G. FRANK:· And so it has to be
24· tracking.
25· · · · · · MIKE LINDELL:· So it has to adjust it.


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·1· · · · · · DR. DOUGLAS G. FRANK:· Yes.
·2· · · · · · MIKE LINDELL:· But these things here.· Let's
·3· go back to these things here where you show this?
·4· · · · · · DR. DOUGLAS G. FRANK:· Yeah, yeah.
·5· · · · · · MIKE LINDELL:· Do you have another?
·6· · · · · · DR. DOUGLAS G. FRANK:· Yeah, I do.
·7· · · · · · MIKE LINDELL:· Other counties where you can
·8· show that.
·9· · · · · · DR. DOUGLAS G. FRANK:· Well, every county I've
10· looked at.
11· · · · · · MIKE LINDELL:· Right.
12· · · · · · DR. DOUGLAS G. FRANK:· It's funny because we
13· mentioned the 2010 census.· Let me just show you that.
14· · · · · · MIKE LINDELL:· Wow.· Look at this.
15· · · · · · DR. DOUGLAS G. FRANK:· This is the ballots for
16· the district, and you notice the amazing parallelism
17· just like the Ohio county.
18· · · · · · MIKE LINDELL:· Right.· And I'm going to stop
19· there.· Look at this, you guys.· These are the
20· registered voters.· Now, do you really think on a
21· regular election that's not using machines this number
22· could be down here.· You don't have the exact percentage
23· turn in their the ballots and vote.
24· · · · · · DR. DOUGLAS G. FRANK:· Exactly.
25· · · · · · MIKE LINDELL:· You know, every single person


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·1· to fit this thing would go out and vote.· It's is a
·2· hundred percent impossible.
·3· · · · · · DR. DOUGLAS G. FRANK:· Right.
·4· · · · · · MIKE LINDELL:· And then to happen you could
·5· say well, in district four in Pennsylvania.
·6· · · · · · DR. DOUGLAS G. FRANK:· One time maybe.
·7· · · · · · MIKE LINDELL:· One time, yeah.· One in a
·8· trillion maybe.
·9· · · · · · DR. DOUGLAS G. FRANK:· Right.
10· · · · · · MIKE LINDELL:· But then everywhere, it's
11· impossible a hundred percent.· It can only be done by
12· machines.· I can't stress that enough.
13· · · · · · DR. DOUGLAS G. FRANK:· Absolutely.
14· · · · · · MIKE LINDELL:· And they all rhyme with
15· Dominion, there's other Smartmatic, ES&S, you know, all
16· of these, and it's just -- you know, I sit here.· I want
17· to bring this up.· When you found all this --
18· · · · · · DR. DOUGLAS G. FRANK:· Yes.
19· · · · · · MIKE LINDELL:· -- I mean, what went through
20· your mind?· I want people to know, this is brand new,
21· everybody.· You're seeing this for the first time.· I'm
22· seeing this for the first time ever today.· I was so
23· excited.· I was going we have enough evidence that we're
24· going to dump for the next six weeks on the whole world
25· and the country that by the time it gets to the Supreme


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·1· Court everyone's going to go -- all nine is going to go
·2· nine zero, yes.· Our country's been attacked.
·3· · · · · · DR. DOUGLAS G. FRANK:· Yes.
·4· · · · · · MIKE LINDELL:· We have been attacked by
·5· foreign actors starting with China with help of domestic
·6· actors here.· They had to be let in, you know.· There's
·7· some bad people.· But it doesn't matter if you're a
·8· Democrat or Republican.· This is an attack on our
·9· country, and we've got to get the word out.· We have to
10· show.· We have to show, we have to spread the word of
11· this.· And we want everybody to know.· They go well, you
12· know, all this evidence was looked at.· No judge has
13· looked at any of the evidence.· All those cases that
14· were dismissed except for a couple in the United States,
15· Antrim County, Michigan, Maricopa -- not Maricopa.
16· Massachusetts before the election in a primary,
17· Dr. Shiva which we showed in the last film documentary,
18· but now it's popping up all over.· You've got Wisconsin,
19· you've got New Hampshire, you've got Maricopa, Georgia.
20· Now all we've got to do is take it.· You get an audit,
21· these machines, but we don't even need that, everyone.
22· We've got it all right here.· We've got the spy ware, so
23· we marry them together.· It's a hundred percent absolute
24· proof.
25· · · · · · If I see one outlet over there of all the


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·1· media going it's is a conspiracy, no, it's not.· It's
·2· an attack on your country, Mr. Fake News.· I mean,
·3· you should be worried, everybody should be worried
·4· about our future of humanity of our country.· So when
·5· you seen this, I mean, you probably thought I had the
·6· key to the world.
·7· · · · · · DR. DOUGLAS G. FRANK:· It was a little scary,
·8· but I admit when I was watching the last part I was on
·9· the edge of my seat because I was watching the 3,000
10· page log-in IP addresses.
11· · · · · · MIKE LINDELL:· Right.· Right.
12· · · · · · DR. DOUGLAS G. FRANK:· And each one was
13· removing ballots, and I was I thinking I know what's
14· happening in that last column.· I can explain.
15· · · · · · MIKE LINDELL:· How long did you work on your
16· stuff?
17· · · · · · DR. DOUGLAS G. FRANK:· When I first discovered
18· it back in December I was working day and night because
19· I was trying to be done by January 6th.· And then I was
20· working by January 20th.
21· · · · · · MIKE LINDELL:· By the inauguration.· This is a
22· crime where there's no statute of limitations.· This is
23· a crime against every one of us, every person on the
24· planet actually.· It goes far and wide into everyone.
25· The whole world is watching.· I said in the first


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·1· documentary you know Ronald Reagan said we're the beacon
·2· of light for the world.
·3· · · · · · DR. DOUGLAS G. FRANK:· Absolutely.
·4· · · · · · MIKE LINDELL:· The lights go out here, they go
·5· out everywhere.
·6· · · · · · DR. DOUGLAS G. FRANK:· Yeah.
·7· · · · · · MIKE LINDELL:· But I'm so happy.· It's like
·8· living inside of a movie.· More keeps coming up.· This
·9· is brand new, and you put it, when we get it all out
10· there, everyone spread the word, share it with your
11· friends, tell everyone.· We're putting this one out
12· first, and then our next documentary, we're going to
13· dump so much evidence it will make wiki leaks look like
14· a Tinker Toy.· We're going to drop it everywhere, every
15· piece of evidence that's ever been found.· There's like
16· 50,000 sworn affidavits out there.· These have to do
17· with machines, but also just the organic steal, you
18· know, the stuff that they did on the ground.
19· · · · · · DR. DOUGLAS G. FRANK:· Yeah.
20· · · · · · MIKE LINDELL:· Which by the way, the machine
21· algorithms had to also take into effect all that stuff
22· too.
23· · · · · · DR. DOUGLAS G. FRANK:· Absolutely.
24· · · · · · MIKE LINDELL:· So that's why people wonder, if
25· you go back to this chart here, I want to tell everyone


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·1· this.· You realize that these machines --
·2· · · · · · (End of excerpt at 9:43.)
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·2· · · · · · · · · ·CERTIFICATE OF REPORTER

·3

·4· · · · · · I, Charlotte Crandall, certify that I was

·5· authorized to and did transcribe the foregoing audio

·6· recorded proceedings and that the transcript is a

·7· true and complete record of my stenographic notes

·8· from an audio recording and was transcribed to the

·9· best of my ability.

10

11· · · · · · Dated this 18th day of June, 2021.

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17· · · · · · · · · · · ________________________________
· · · · · · · · · · · · Charlotte Crandall
18· · · · · · · · · · · Registered Professional Reporter

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